Case 2:15-ml-02668-PSG-SK Document 947-1 Filed 06/20/23 Page 1 of 11 Page ID
                                #:29825


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11    Plaintiffs’ Co-Lead Counsel
12

13                       UNITED STATES DISTRICT COURT
14                      CENTRAL DISTRICT OF CALIFORNIA
15
     IN RE: NATIONAL FOOTBALL                  Case No. 2:15-ml-02668-PSG (JEMx)
16   LEAGUE’S “SUNDAY TICKET”
     ANTITRUST LITIGATION
17                                             MEMORANDUM IN SUPPORT OF
     THIS DOCUMENT RELATES TO                  PLAINTIFFS’ UNOPPOSED
18   ALL ACTIONS                               MOTION TO APPOINT NOTICE
                                               ADMINISTRATOR, AUTHORIZE
19                                             DISTRIBUTION OF NOTICE TO
                                               RESIDENTIAL AND
20                                             COMMERCIAL CLASSES OF
                                               DIRECTV SUNDAY TICKET
21                                             SUBSCRIBERS, AND COMPEL
                                               PRODUCTION OF CUSTOMER
22                                             CONTACT INFORMATION
23                                             Judge: Hon. Philip S. Gutierrez
                                               Date/Time: 7/21/2023, 1:30 p.m.
24                                             Pretrial-Conference Date: 2/9/2024
                                               Trial Date: 2/22/2024
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Case 2:15-ml-02668-PSG-SK Document 947-1 Filed 06/20/23 Page 2 of 11 Page ID
                                #:29826


 1       I.      INTRODUCTION
 2            Plaintiffs respectfully request that the Court enter an order under Federal Rule
 3   of Civil Procedure 23(c) approving and authorizing Plaintiffs’ proposed plan for
 4   distributing notice to the recently certified residential classes and commercial classes
 5   (collectively, class members) and appointing a notice administrator. Plaintiffs further
 6   request that this Court approve the order directing DIRECTV Holdings LLC and
 7   DIRECTV, LLC (“DIRECTV”) to provide class member contact information to
 8   effect notice.1
 9            The proposed forms of notice comply with the requirements of Rule 23(c).
10   First, the Summary Notice and Detailed Notice state in plain and concise language
11   the nature of the action, recite the definition of the residential and commercial classes,
12   and provide clear notice of the deadline to opt out of the class action. See Declaration
13   of Gina Intrepido-Bowden (“Intrepido-Bowden Declaration”) ¶ 14; Exs. B, C & F.
14            The proposed manner of notice—which includes a combination of direct
15   notice by email or postcard (delivered using class member contact data from
16   DIRECTV), a dedicated litigation website, and supplemental media notice
17   responsive to the class demographics—is comprehensive. See id. ¶¶ 13-15. The
18   proposed notice plan is intended to reach at least 70 percent of class members and
19   potentially as much as 90 percent (or more) of class members. Id. ¶ 37.
20

21   1
        Should DIRECTV be unable to provide class member contact information for
     customers who enrolled in NFL Sunday Ticket during the 2021 and 2022 NFL
22   football seasons within the timelines required by any Court order, the NFL has agreed
     to provide, within 7 days of the deadline for DIRECTV’s production, class member
23   contact information in its possession that it received from DIRECTV during the 2021
     and 2022 NFL football seasons. The NFL does not possess contact information for
24   all class members who purchased Sunday Ticket during the 2021 and 2022 NFL
     football seasons and instead only possesses contact information for those class
25   members with whom it has an independent relationship separate and apart from their
     interactions with DIRECTV. Any production by the NFL should not relieve
26   DIRECTV of its obligation to produce contact information for all class members in
     its possession.
27
     Plaintiffs reserve the right to seek earlier class member contact information from the
28   NFL should it become necessary. The NFL reserves the right to object to producing
     earlier class member contact information.
                                                  1
Case 2:15-ml-02668-PSG-SK Document 947-1 Filed 06/20/23 Page 3 of 11 Page ID
                                #:29827


 1              Plaintiffs also propose that JND Legal Administration (“JND” or “Notice
 2   Administrator”) serve as the notice administrator for the class members. JND has
 3   been appointed as the class notice or claims administrator in hundreds of cases,
 4   including cases in this district and numerous major antitrust class actions, and is well
 5   qualified to serve as notice administrator in this action. Intrepido-Bowden Decl. ¶¶
 6   1-10.
 7        II.      THE NOTICE PLAN SHOULD BE APPROVED
 8                 A. The proposed Form of Notice Complies with Rule 23.
 9              For any class certified under Rule 23(b)(3), “[t]he notice must clearly and
10   concisely state in plain, easily understood language:
11                    (i)     the nature of the action;
12                    (ii)    the definition of the class certified;
13                    (iii)   the class claims, issues, or defenses;
14                    (iv)    that a class member may enter an appearance through an attorney
15                            if the member so desires;
16                    (v)     that the court will exclude from the class any member who
17                            requests exclusion;
18                    (vi)    the time and manner for requesting exclusion; and
19                    (vii) the binding effect of a class judgment on members under Rule
20                            23(c)(3).”
21   Fed. R. Civ. P. 23(c)(2)(B).
22              JND will send Summary Notice to class members by email using the class
23   member contact information provided by DIRECTV pursuant to the proposed order,
24   with postcard notice to follow for those class members whose last known email
25   address is no longer valid or whose last known email address is missing from the
26   class member contact information provided by DIRECTV and cannot otherwise be
27   obtained.2 Intrepido-Bowden Decl. ¶¶ 17-27. The Summary Notice (formatted as an
28
     2
         Plaintiffs understand from DIRECTV that nearly all of the class member contact
                                                      2
Case 2:15-ml-02668-PSG-SK Document 947-1 Filed 06/20/23 Page 4 of 11 Page ID
                                #:29828


 1   Email Notice and a Postcard Notice) will contain information about the class action
 2   and the class definitions and advise the recipient that he or she may be a class
 3   member. Id. ¶¶ 17-27; Exs. B & C. The Summary Notice will also provide
 4   information about a class member’s right to opt out and note that class members are
 5   bound by the outcome of the litigation. Id., Exs. B & C.
 6         The Summary Notice will also include information about accessing the
 7   litigation website, which will contain the Detailed Notice, information about the
 8   litigation, and other important case documents. Id. ¶¶ 31-32.
 9         The Detailed Notice provides information about the following in a clear and
10   concise manner:
11          a description of this antitrust litigation and the parties’ claims and defenses;
12          definitions of the classes certified under Rule 23(b)(2) and 23(b)(3);
13          a summary of the legal rights and options of class members to remain in the
14            litigation or opt out, and the deadline for submitting an opt-out request;
15          information about entering an appearance through an attorney of the class
16            member’s own choosing; and
17          the binding effect of a class-wide judgment on class members under Rule
18            23(c)(3).
19   Intrepido-Bowden Decl. ¶¶ 14, 31, Ex. F. In addition, and beyond that which is
20   expressly required, the Detailed Notice contains other information about the case,
21   including:
22          contact information for Plaintiffs’ Co-Lead Counsel and the Notice
23            Administrator to request more information; and
24          the potential for Plaintiffs’ Co-Lead Counsel to request attorneys’ fees and
25            expense reimbursement.
26         The Detailed Notice is available on the litigation website in both English and
27

28   information to be supplied includes last known email addresses, minimizing the need
     for postcard notice as a result.
                                                3
Case 2:15-ml-02668-PSG-SK Document 947-1 Filed 06/20/23 Page 5 of 11 Page ID
                                #:29829


 1   Spanish and accessible by class members and all members of the general public.3
 2   Intrepido-Bowden Decl. ¶¶ 31. The existence of the litigation website serves to
 3   enhance the ability of class members to access information about the class action.
 4   See, e.g., MANUAL FOR COMPLEX LIGITATION (FOURTH) § 21.311, at 288
 5   (“Posting notices on dedicated Internet sites, likely to be visited by class members
 6   and linked to more detailed certification information, is a useful supplement to
 7   individual notice.”).
 8         In addition to direct notice to class members, the Notice Administrator will
 9   also employ media notice spanning a mix of digital and radio advertisements. As
10   explained in more detail below, those advertisements seek to maximize the reach of
11   notice. The combination of radio and digital advertisements will be targeted to ensure
12   that they reach potential class members and will include details on how to get more
13   information about the class action. Intrepido-Bowden Decl. ¶¶ 28-30.
14             B. The Proposed Form of Notice Complies with 47 U.S.C. § 338, the
15                Satellite Television Extension and Localism Act of 2010.
16         In addition to information about the class action, the proposed forms of notice
17   will also include information about DIRECTV’s anticipated disclosure of customer
18   data to Plaintiffs. The Satellite Television Extension and Localism Act of 2010
19   (“STELA”), 47 U.S.C. § 338(i), limits the circumstances under which a satellite
20   company, such as DIRECTV, can disclose “personally identifiable information” of
21   its customers.
22         STELA has a “court order” exception to the limitation on disclosures—47
23   U.S.C. § 338(i)(4)(B)(2) provides that a “satellite carrier may disclose such
24   [personally identifiable] information if the disclosure is . . . made pursuant to a court
25   order authorizing such disclosure, if the subscriber is notified of such order by the
26   person to whom the order is directed.” DIRECTV is required to provide notice to its
27

28   3
      A Spanish-language version of the Detailed Notice will be available on the litigation
     website.
                                                 4
Case 2:15-ml-02668-PSG-SK Document 947-1 Filed 06/20/23 Page 6 of 11 Page ID
                                #:29830


 1   customers that it intends to disclose certain “personally identifiable information” if a
 2   court orders it to provide such information, but there is no requirement for customers
 3   to consent in this exception. Thus, the Court must authorize DIRECTV to produce
 4   such data to the Notice Administrator, JND, under the applicable laws in the form of
 5   an order. Because Plaintiffs anticipate that such information will be necessary later
 6   in this case, Plaintiffs and DIRECTV anticipate using the notice proposed here to
 7   accomplish both the STELA notice and class notice, with the class contact
 8   information insulated from Plaintiffs and Plaintiffs’ counsel until notice has been
 9   effectuated. As a result, the Summary Notice (formatted as an Email Notice and a
10   Postcard Notice) and the Detailed Notice contain information about the disclosure of
11   certain customer contact information in connection with this litigation pursuant to
12   STELA.4 Intrepido-Bowden Decl. ¶¶ 34-35; Exs. B, C, & F.
13             C. The Proposed Methods of Notice Should Be Approved.
14         Rule 23(c)(2)(B) requires that notice of a class action certified under Rule
15   23(b)(3) be “the best notice that is practicable under the circumstances, including
16   individual notice to all members who can be identified through reasonable effort.”
17   Fed. R. Civ. P. 23(c)(2)(B); Eisen v. Carlisle & Jacquelin, 417 U.S. 156, 177 (1974).
18   For classes certified under Rule 23(b)(2), the court may direct appropriate notice to
19   the class. Fed. R. Civ. P. 23(c)(2)(A). “[N]either Rule 23 nor the Due Process Clause
20   requires actual notice to each individual class member.” Briseno v. ConAgra Foods,
21   Inc., 844 F.3d 1121, 1128 (9th Cir. 2017).
22         Furthermore, Rule 23 explicitly permits notice by “electronic means.” Fed. R.
23   Civ. P. 23(c)(2)(B); see also Fed. R. Civ. P. 23(c)(2)(B) advisory committee’s note
24   (2018) (“[T]he amended rule relies on courts and counsel to focus on the means or
25

26   4
      While the NFL is not a satellite television provider, the information it may produce,
     see supra Footnote 1, is derived from data shared by DIRECTV. Out of an abundance
27   of caution pursuant to STELA, that information would not be shared with Plaintiffs.
     Rather, to the extent the NFL provides any such information, it will, like DIRECTV,
28   provide it to the notice administrator with the information insulated from Plaintiffs
     and Plaintiffs’ counsel until notice has been effectuated.
                                                5
Case 2:15-ml-02668-PSG-SK Document 947-1 Filed 06/20/23 Page 7 of 11 Page ID
                                #:29831


 1   combination of means most likely to be effective in the case before the court.”); see
 2   also In re Online DVD-Rental Antitrust Litig., 779 F.3d 934, 946 (9th Cir. 2015)
 3   (settlement notice plan that consisted of email and mail was “sufficient under the
 4   Constitution and Rule 23(e)”); Chester v. The TJX Cos., No. 5:15-cv-01437, 2017
 5   WL 6205788, at *3 (C.D. Cal. Dec. 5, 2017) (approving settlement notice plan to
 6   class members that included email and postcard notice); In re LinkedIn User Privacy
 7   Litig., 309 F.R.D. 573, 586 (N.D. Cal. 2015) (approving email notice plan); Palma
 8   v. Metropcs Wireless, Inc., No. 8:13-CV-698-T-33MAP, 2014 WL 235478, at *2
 9   (M.D. Fla. Jan. 22, 2014) (“A number of courts have determined that email is an
10   inexpensive and appropriate means of delivering notice of an action to a class.”).
11         Plaintiffs respectfully submit that the proposed notice plan constitutes the best
12   notice that is practicable under the circumstances and should be approved.
13                 1. Direct Notice Will be Sent to Potential Class Members Pointing
                       Them to Further Information Contained in the Detailed Notice.
14
           Each customer that subscribed to NFL Sunday Ticket provided to DIRECTV
15
     personally identifying information, including an email address and physical address.
16
     Following this Court’s Order, DIRECTV intends to provide JND with customer
17
     contact information for customers of NFL Sunday Ticket for the period from 2011-
18
     2022, including over 7 million emails of customers that subscribed to NFL Sunday
19
     Ticket. JND will use this customer contact data to reasonably identify recipients of
20
     direct notice.
21
           JND will first email Summary Notice to the most up-to-date email address for
22
     each class member. Intrepido-Bowden Decl. ¶¶ 17-23. For any email bouncebacks,
23
     JND will perform an email append process (using information shared by leading
24
     credit bureaus) to identify any better email addresses. Id. ¶¶ 24-25. JND’s email will
25
     be carefully worded to convey information about the class action while avoiding
26
     spam language that would hinder deliverability. Id. ¶¶ 19-22. Furthermore, JND’s
27
     email will be run through spam testing software and checked against the 25 most
28
     common blacklists to ensure that the email is received by its intended recipient. Id. ¶
                                                6
Case 2:15-ml-02668-PSG-SK Document 947-1 Filed 06/20/23 Page 8 of 11 Page ID
                                #:29832


 1   19. JND will also optimize the email content for readability on all email platforms to
 2   ensure the email opens as expected. Id. ¶ 22. JND will re-email the notice up to an
 3   additional three times if an email is bounced back for temporary reasons, such as the
 4   recipient’s email inbox being full. Id. ¶¶ 24-25.
 5         In situations where Summary Notice cannot be emailed to a class member,
 6   JND will send a postcard with Summary Notice. Id. ¶ 26. JND will conduct a review
 7   of records and certify that the mailing addresses are accurate via the Coding Accuracy
 8   Support System and will further verify the mailing addresses through the United
 9   States Postal Service National Change of Address database to ensure that postcards
10   are mailed to the most up-to-date addresses for class members. Id. A copy of the
11   proposed postcard that will be mailed to class members is attached as Exhibit C to
12   the Intrepido-Bowden Declaration.5
13         The Summary Notice sent by email or postcard will direct class members to
14   the Detailed Notice and provide further information about the litigation website.
15   Courts in this district have approved notice plans that direct class members to
16   websites containing a Detailed Notice plan and other case information. See, e.g.,
17   Brown v. DIRECTV, LLC, No. 13-1170-DMG, 2020 WL 4810994, at *1-2 (C.D.
18   Cal., July 23, 2020). Plaintiffs expect that direct notice will reach at least 70 percent
19   of class members and potentially as much as 90 percent (or more) of class members.
20                  2. Supplemental Media Notice Will Ensure Maximum Reach.
21         JND will supplement direct notice with media outreach, including digital and
22   radio advertisements. Intrepido-Bowden Decl. ¶¶ 28-30. JND will place digital
23   advertisements on Google Display Network, a leading digital network, and
24   Facebook, a top social media platform. Id. JND will also place radio advertisements
25   on Sirius XM, a popular satellite radio service with a special emphasis on sports
26   content. Id.
27
     5
      Again, Plaintiffs anticipate postcard notice to be a small portion of the direct-notice
28   campaign based on representations from DIRECTV that nearly all of the class
     member contact information to be supplied includes last known email addresses.
                                                 7
Case 2:15-ml-02668-PSG-SK Document 947-1 Filed 06/20/23 Page 9 of 11 Page ID
                                #:29833


 1         Those digital and radio advertisements will seek out potential class members
 2   by targeting those with an affinity for American football. Id. ¶ 28. JND will also
 3   advertise on popular sports radio channels to reach potential class members, such as
 4   ESPN radio, NFL radio, CBS Sports, Fox Sports, and NBC Sports Audio. Id. JND
 5   will also target social media users that identify as owners and managers of restaurants
 6   and bars to reach potential commercial class members. Id.
 7         All of these advertisements will contain information about the litigation
 8   website. Digital advertisements will even contain links to the litigation website where
 9   class members may access more information. Id. ¶ 30.
10         While JND expects that it can achieve over 19 million impressions with its
11   supplemental media efforts, it will continually monitor its efforts to optimize the
12   number of unique impressions delivered across each platform. Id. ¶¶ 28-29.
13            D. JND Is Well Qualified to Serve as Notice Administrator.
14         JND is well positioned to oversee class notice administration in this case. JND
15   has earned a reputation for capably managing complex class action notice programs
16   and has successfully managed administration in hundreds of class action cases,
17   including many in this circuit. See Intrepido-Bowden Decl. ¶¶ 1-10.
18         In seeking a notice administrator following this Court’s class certification
19   order, Plaintiffs’ Co-Lead Counsel sent requests for proposals (“RFPs”) to four
20   leading notice-administration firms, handpicked based on positive experiences with
21   each in other cases, each of which submitted a detailed proposal. Declaration of
22   Sathya S. Gosselin ¶¶ 2-3. JND was selected among the multiple RFPs because its
23   proposal was cost competitive, it has substantial experience administering notice in
24   complex class actions in this district, and its proposal reflected considerable thought
25   and sensitivity to the demographics of the commercial and residential class members
26   here. Plaintiffs’ Co-lead Counsel have used JND for various claims-administration
27   services but have no financial or other ties with JND. Id. ¶ 4.
28

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Case 2:15-ml-02668-PSG-SK Document 947-1 Filed 06/20/23 Page 10 of 11 Page ID
                                 #:29834


  1      III.   CONCLUSION
  2         For the foregoing reasons, Plaintiffs respectfully request that the Court enter
  3   the [Proposed] Order appointing JND as Notice Administrator, Authorizing
  4   Distribution of Notice to Residential and Commercial Classes of DIRECTV Sunday
  5   Ticket Subscribers, and Compelling Production of Customer Contact Information.
  6
         Dated: June 20, 2023               Respectfully submitted,
  7

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Case 2:15-ml-02668-PSG-SK Document 947-1 Filed 06/20/23 Page 11 of 11 Page ID
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